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SM
FedPayments Manager -- Funds
TDS Environment:  Front-End-FROD ABA: 324377820
rie Mode: PROD Service Unit: 32437782
i Cycle Date: 04/04/2007 System Date/Time: 04/04/2067 11:08:38
7EBAETS
17218288
17215418
17225374 =
Tae
‘Tas Status: Completed Message Type: Standard
ae Create Time: 04/03/2007 17:29:29 Test/Prod: Prod
7390650
tear IMAD: 20070403 QMGFTO11 004130 04021735,
17424312 ran AANAWAANY LITERAIO AaAntAs RARIIIDE
17486106, ELAS CVU IVEU GALE DOLL VVULSE VOL ras
TASS
TPEZ7BR6
‘ae
vane BASIC INFORMATION
eee Sender ABA {3100}: 324377820 UTAH COM FCU PROVO
T7E79644 ‘ .
nar Receiver ABA {3400}: 102000966 GUARANTY BK TR :
rae Amount. {2909}; 50, 000,90 “
VAS
et Type Code {1510}: 1000 - Transfer of Funds
tame Business Function {3600}: CTR - Customer Transfer
ae Reference Number {3320}: 4585
nee INSTITUTION INFORMATION
Mp
DS Originator {5¢00]
13114635,
at Name: ANNUIT COEPTIS, LLC
TnB0 Address: 9481 N 3830 W
18206881
ane CEDAR HILLS, UT 84062
Beneficiary {4206}

ID Code D - DDA Account Number

Identifier: 31210932

Name: LAW OFFICES OF JOSEPH H THIBODEAU

Address: COCTAP TRUST ACCT

 

 

 

 

UCCU-01-00230
